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                              EXHIBIT “A”
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 1   EUGENE G. IREDALE: SBN 75292
     JULIA YOO: SBN 231163
 2   GRACE JUN: SBN 287973
 3   IREDALE & YOO, APC
     105 West F Street, Fourth Floor
 4   San Diego, CA 92101-6036
 5   TEL: (619) 233-1525
 6   Attorneys for Plaintiff Frankie Greer

 7                       UNITED STATES DISTRICT COURT
 8                     SOUTHERN DISTRICT OF CALIFORNIA
 9 FRANKIE GREER,                            CASE NO. 19-cv-00378-GPC-DEB
10
            Plaintiff,                       PLAINTIFF FRANKIE GREER’S
11
                                             REQUEST FOR PRODUCTION (SET
12 v.                                        TWO) TO DEFENDANT COUNTY OF
13                                           SAN DIEGO
   COUNTY OF SAN DIEGO,
14 WILLIAM GORE, in his individual
15 capacity, ALFRED JOSHUA, in his
   individual capacity, BARBARA
16
   LEE, in her individual capacity, and
17 DOES 1 – 100,
18
                 Defendants.
19
20   PROPOUNDING PARTY:               PLAINTIFF FRANKIE GREER
21   RESPONDING PARTY:                DEFENDANT COUNTY OF SAN DIEGO
22   SET NUMBER:                      TWO
23                             PRELIMINARY STATEMENT
24         Pursuant to Federal Rule at Civil Procedure, Rule 34, FRANKIE GREER
25   (“PLAINTIFF”) requests that Defendant County of San Diego (“COUNTY”),
26   produce for inspection and/or photocopying all documents, papers, books,
27   accounts, letters, photographs, objects or other things designated herein. Within
28   thirty (30) days after service of this request, you must serve a written response
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 1   subscribed under oath describing the documents/things you will produce and
 2   stating any objections that you have to the production of any of the
 3   documents/things described below. Failure to serve a response within the time
 4   allotted shall be deemed to be a waiver of any objections to the production of the
 5   requested documents/things.
 6                                     DEFINITIONS
 7      1. The term COUNTY OF SAN DIEGO (“COUNTY”) refers to COUNTY’s
 8   current and former employees, officers, agents, directors, executives,
 9   administrators, partners, members, advisors, predecessors, successors, assignees,
10   contractors and any entity or entities owned or controlled, in whole or in part, by
11   Defendant COUNTY.
12      2. The terms “YOU” and “YOUR” refer to Defendant COUNTY OF SAN
13   DIEGO (“COUNTY”) and its current and former employees, officers, agents,
14   directors, executives, administrators, partners, members, advisors, predecessors,
15   successors, assignees, contractors or any entity or entities owned or controlled, in
16   whole or in part, by Defendant COUNTY.
17      3. “DOCUMENT” shall mean “writing” as defined in California Evidence
18   Code section 250 as follows: handwriting, typewriting, printing, photostating,
19   photographing, and every other means of recording upon any tangible thing any
20   form of communication and representation, including letters, words, pictures,
21   sounds, or symbols, or combinations thereof, including all ELECTRONICALLY
22   STORED INFORMATION. DOCUMENT includes the originals, any copies of
23   originals not available, or any non-identical copies (or copies different from the
24   original because of notes made on such copies, or because of an indication that
25   such copies were sent to individuals different from those to whom the originals
26   were sent, or different for any reason).
27
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 1      4. The term "REGARDING," "RELATING TO," "RELATE TO," or
 2   “REFLECTING” shall mean mentioning, describing, evidencing, regarding,
 3   concerning, depicting or referring to in any way, directly or indirectly.
 4      5. The term “ELECTRONICALLY STORED INFORMATION” shall mean
 5   information that is stored in an electronic medium.
 6      6. The term “ELECTRONIC” shall mean relating to technology having
 7   electrical, digital, magnetic, wireless, optical, electromagnetic, or similar
 8   capabilities.
 9      7. The terms “COMMUNICATION” and “CORRESPONDENCE” shall mean
10   and include any oral, written, or ELECTRONIC transmission of information,
11   thoughts, opinions, or other data, between two or more persons. This includes, but
12   is not limited to, print, ELECTRONIC, digital, or telephonic mediums and formats
13   of COMMUNICATION.
14      8. The term “ENTITY” or “ENTITIES” includes, but is not limited to, any
15   agency, association, business, bureau, charity, club, collective, committee,
16   company, corporation, department, government, institute, institution, general or
17   limited partnership, limited liability company, non-profit, office, organization or
18   unit.
19      9. The term “PERSON” or “PERSONS” shall mean and include all natural
20   persons, corporations, partnerships, limited liability companies, organizations,
21   associations and any other kind of business or legal entity.
22      10. The term “INCIDENT” shall refer to the facts as alleged in the First
23   Amended Complaint (ECF no. 17).
24      11. The use of the singular form of any word includes the plural and vice versa.
25      12. The connectives “and” and “or” shall mean “and/or,” and shall be construed
26   either disjunctively or conjunctively as necessary to bring within the scope of the
27   discovery request all documents or other information that might otherwise be
28   construed outside of its scope.


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 1                                    INSTRUCTIONS
 2      A. Separate Response to Each Request
 3         In responding to these Requests for Production, please respond separately to
 4   each request number by stating any of the following:
 5      a. A statement that YOU will comply with the particular demand for
 6         inspection, copying, testing, or sampling within thirty (30) days after service
 7         of this request;
 8      b. A representation that YOU lack the ability to comply with the demand for
 9         inspection, copying, testing, or sampling of a particular item or category of
10         item; or
11      c. An objection to the particular demand for inspection, copying, testing, or
12         sampling.
13      B. Statement regarding compliance in whole or in part
14         A statement that YOU will comply with the particular demand shall state
15   that the production, inspection, copying, testing, or sampling, and related activity
16   demanded, will be allowed either in whole or in part, and that all documents or
17   things in the demanded category that are in the possession, custody, or control of
18   that party and to which no objection is being made will be included in the
19   production.
20      C. Representation of inability to comply
21         A representation of inability to comply with a particular request for
22   inspection, copying, testing, or sampling shall affirm that a diligent search and a
23   reasonable inquiry has been made in an effort to comply with that demand. This
24   statement shall also specify whether the inability to comply is because the
25   particular item or category has never existed, has been destroyed, has been lost,
26   misplaced, or stolen, or has never been, or is no longer, in the possession, custody,
27   or control of the responding party. The statement shall set forth the name and
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 1   address of any natural person or organization known or believed by that party to
 2   have possession, custody, or control of that item or category of item.
 3      D. Statement of compliance or inability to comply when part of demand
 4         objectionable; privilege log
 5      a) If only part of an item or category of item in a demand for inspection,
 6         copying, testing, or sampling is objectionable, the response shall contain a
 7         statement of compliance, or a representation of inability to comply with
 8         respect to the remainder of that item or category.
 9      b) If the responding party objects to the demand for inspection, copying,
10         testing, or sampling of an item or category of item, the response shall do
11         both of the following:
12         i) Identify with particularity any document, tangible thing, land, or
13             electronically stored information falling within any category of item in
14             the demand to which an objection is being made; and
15         ii) Set forth clearly the extent of, and the specific ground for, the objection.
16             If an objection is based on a claim of privilege, the particular privilege
17             invoked shall be stated. If an objection is based on a claim that the
18             information sought is protected work product, that claim shall be
19             expressly asserted.
20   Privilege log (Fed. R. Civ. P. 26(b)(5)
21         If an objection is based on a claim of privilege or a claim that the
22   information sought is protected work product, the response shall provide sufficient
23   factual information for other parties to evaluate the merits of that claim, including,
24   if necessary, a privilege log. The privilege log shall contain a description of the
25   nature of the documents, communications, or tangible things not produced or
26   disclosed – and do so in a manner that, without revealing information itself
27   privileged or protected, will enable other parties to assess the claim.
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 1                          REQUESTS FOR PRODUCTION
 2   REQUEST FOR PRODUCTION NO. 11:
 3         Any and all DOCUMENTS and ELECTRONICALLY STORED
 4   INFORMATION RELATED TO and/or REFLECTING any and all medical
 5   personnel at the Central Jail that made any determination that PLAINTIFF Frankie
 6   Greer would receive and/or not receive his required medication.
 7   REQUEST FOR PRODUCTION NO. 12:
 8         Any and all notes, records, DOCUMENTS and ELECTRONICALLY
 9   STORED INFORMATION RELATING TO and/or REFLECTING any jail
10   officials that had contact with PLAINTIFF Frankie Greer from January 31, 2018 to
11   February 2, 2018.
12   REQUEST FOR PRODUCTION NO. 13:
13         Any and all notes, records, DOCUMENTS and ELECTRONICALLY
14   STORED INFORMATION RELATING TO PLAINTIFF Frankie Greer’s housing
15   decisions, including but not limited to, DOCUMENTS generated by the housing
16   deputy(ies).
17   REQUEST FOR PRODUCTION NO. 14:
18         Any and all notes, records, DOCUMENTS, and ELECTRONICALLY
19   STORED INFORMATION generated by any housing deputy from January 31,
20   2018 to February 2, 2018.
21   REQUEST FOR PRODUCTION NO. 15:
22         Any and all DOCUMENTS and ELECTRONICALLY STORED
23   INFORMATION RELATED TO policies and procedures regarding the transmittal
24   of housing or bunk assignments made by the medical staff at the Central Jail to
25   correctional deputies, including transmittal of such information to any deputy
26   responsible for assigning or placing an inmate in a cell and bunk.
27   REQUEST FOR PRODUCTION NO. 16:
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 1         Any and all DOCUMENTS, data compilations, and tangible things
 2   described in Defendants’ initial disclosures.
 3   REQUEST FOR PRODUCTION NO. 17:
 4         Any and all DOCUMENTS, writing, video recordings, and/or audio
 5   recordings REGARDING PLAINTIFF Frankie Greer made by any individual
 6   within the Sheriff’s Department’s Division of Inspectional Services (DIS) and/or
 7   the Critical Incident Review Board (CIRB).
 8   REQUEST FOR PRODUCTION NO. 18:
 9         Any and all DOCUMENTS, writings, video and audio recordings reflecting
10   any investigation by DIS or CIRB REGARDING PLAINTIFF Frankie Greer.
11   REQUEST FOR PRODUCTION NO. 19:
12         Any and all DOCUMENTS REFLECTING insurance agreements, including
13   any excess insurance and/or reinsurance agreement, required to be produced under
14   Fed. R. Civ. P. 26(a)(1)(A)(iv).
15   REQUEST FOR PRODUCTION NO. 20:
16         Any and all DOCUMENTS REGARDING regulations and/or policies
17   RELATED TO the treatment of inmates/patients with seizure disorders.
18   REQUEST FOR PRODUCTION NO. 21:
19         Any and all DOCUMENTS REGARDING chronic disease pathway and/or
20   protocol for seizure disorders in effect in January 2018.
21   REQUEST FOR PRODUCTION NO. 22:
22         From the time period of January 1, 2013 to February 28, 2018, any report or
23   memoranda produced by the National Commission on Correctional Healthcare
24   (NCCHC) regarding any audit, review, or investigation conducted by NCCHC of
25   San Diego County jails.
26   REQUEST FOR PRODUCTION NO. 23:
27         From the time period of January 1, 2013 to February 28, 2018, any and all e-
28   mails between Barbara Lee (Barbara.Lee@sdsheriff.org) and any member or


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 1   representative of the National Commission on Correctional Healthcare (NCCHC)
 2   regarding any audit, review, or investigation conducted by NCCHC of San Diego
 3   County jails.
 4
 5   DATED September 17, 2020          IREDALE AND YOO, APC
 6
 7
 8                                     EUGENE IREDALE
                                       JULIA YOO
 9                                     GRACE JUN
10                                     Attorneys for Plaintiff
                                       FRANKIE GREER
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